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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.                               NO. 4:14CR114-05-DPM

KRISTOPHER MICHAEL ANSTISS                                                 DEFENDANT

                                        ORDER

       The parties report an agreement to modify Defendant Kristopher Michael Anstiss’s

pretrial release conditions in lieu of the Government’s pursuit of bond revocation. The

proposed modification requires that Mr. Anstiss re-enter a chemical-free living program

pending resolution of his case.

       For good cause shown, the requested modification is granted. The revocation

hearing scheduled for January 13, 2016, at 10:00 a.m. is canceled, and the motion to

revoke bond (Docket entry #468) is denied as moot.

       Mr. Anstiss is ordered to enter a chemical-free living program as instructed by his

Pretrial Services Officer. He must remain in the chemical-free living program until

resolution of his case. Any request by Mr. Anstiss for weekend passes to stay with his

wife and child should be made directly to the program coordinator, without further

authorization by the Court.

       IT IS SO ORDERED this 13th day of January, 2016.



                                    UNITED STATES MAGISTRATE JUDGE
